Case 5:21-cv-00084-BJB-LLK Document 1-5 Filed 06/22/21 Page 1 of 3 PageID #: 14




                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF KENTUCKY
                               PADUCAH DIVISION
                                       5:21-cv-84-BJB
                             CASE NO. _____________

IN THE MATTER OF THE COMPLAINT OF
ERIC YAEGER, AS OWNER AND OPERATOR
OF THE 2017 SEA DOO RXT-X 300 PERSONAL
WATERCRAFT BEARING IDENTIFICATION
NO. YDV10433B717, FOR EXONERATION
FROM OR LIMITATION OF LIABILITY


                  ORDER FOR AD INTERIM STIPULATION AND
           DIRECTING ISSUANCE OF NOTICE AND RESTRAINING SUITS
                            (Electronically Filed)


       The Limitation Plaintiff, Eric Yaeger, as owner and operator of the 2017 Sea Doo

RXT-X 300 Personal Watercraft bearing Identification No. YDV10433B717 (hereinafter

“2017 Sea Doo Personal Watercraft”), filed a Complaint in this Court seeking

exoneration from or alternatively, limitation of liability with respect to a casualty which

occurred on May 31, 2020 in Big Bear Bay on Kentucky Lake, when the 2017 Sea Doo

Personal Watercraft was struck by a tube carrying Kyle Waldridge, which was being

pulled by a vessel operated by James Adams (the “Incident”). In his Complaint, the

Limitation Plaintiff has stated the facts and circumstances upon which exoneration from

and limitation of liability are claimed, and has shown the value of its interest in the 2017

Sea Doo Personal Watercraft after the Incident and has prayed for leave to file a

stipulation for the amount of this value pending any appraisal, to give a Letter of

Undertaking as security, to obtain an Order Directing Issuance of Notice, and to obtain a

Restraining Order.




                                             1
Case 5:21-cv-00084-BJB-LLK Document 1-5 Filed 06/22/21 Page 2 of 3 PageID #: 15




       From the pleadings which have been duly filed, it appears that the post-accident

value of the Limitation Plaintiff’s interest in the 2017 Sea Doo Personal Watercraft on

May 31, 2020 did not exceed $14,400.00 United States Dollars, there was no pending

freight, and $250.00 is the statutory amount of court costs which is adequate, and that

the Limitation Plaintiff has filed, as security herein, a Letter of Undertaking from

underwriters, in the total sum of $14,650.00 United States Dollars, which is equal to the

sum of Limitation Plaintiff’s interests in the 2017 Sea Doo Personal Watercraft and zero

pending freight, plus $250.00 as security for court costs (with interest thereon at the

legal rate of 6% per annum from the date thereon):

       IT IS HEREBY ORDERED that such be accepted as an AD INTERIM Stipulation

and adequate security for this limitation of liability proceeding and that it is approved as

to form, quantum, and surety without prejudice to the due appraisal of the Limitation

Plaintiff’s interest under further orders of this Court, if such is deemed necessary, and

any party has the right to apply to have the amount of the said stipulation increased or

decreased as the Court may direct.

       IT IS FURTHER ORDERED that a Notice issue out of and under the seal of this

Court against all persons claiming damage for any and all losses, injuries or death and

destruction arising out of or occurring by reason of the Incident, citing them to appear

before this Court and file their claims with the Clerk of the Court in writing, under oath

and directing any person, firm or corporation or other entity, private or public, claiming

damages as aforesaid, who shall desire to contest the Complaint of Limitation Plaintiff,

shall answer said Complaint and serve copies of their Answer thereof on the attorneys

for Limitation Plaintiff on or before the _____ day of _________, 2021



                                             2
Case 5:21-cv-00084-BJB-LLK Document 1-5 Filed 06/22/21 Page 3 of 3 PageID #: 16




       IT IS FURTHER ORDERED that public notice shall be given by publication

thereof in The Paducah Sun, published in the City of Paducah, Commonwealth of

Kentucky, as provided by Rule F(4) of the Supplemental Rules for Certain Admiralty and

Maritime Claims of the United States Supreme Court, and Limitation Plaintiff shall mail

also, not later than one (1) day after the second publication, a copy of said public notice

to every person, firm or corporation known to have made a claim against the 2017 Sea

Doo Personal Watercraft and/or the Limitation Plaintiff arising out of said Incident.

       IT IS FURTHER ORDERED that a Restraining Order be issued from this Court

restraining and enjoining all claims and proceedings against the 2017 Sea Doo

Personal Watercraft or the Limitation Plaintiff in any Court whatsoever, except in this

proceeding, in respect to any matter arising out of or in conjunction with the aforesaid

casualty of May 31, 2020 described in the Limitation Plaintiff’s Complaint, that any

pending actions against said vessel and the Limitation Plaintiff shall cease, that the

Court enjoins the further prosecution of any action or proceeding against the 2017 Sea

Doo Personal Watercraft and the Limitation Plaintiff with reference to any claim arising

out of or connected with the Incident, until the termination of this proceeding.

       Paducah, Kentucky this _____ day of ________, 2021.




                                   UNITED STATES DISTRICT COURT JUDGE




                                             3
